 Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 1 of 17 PageID #: 1




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                  SOUTHERN DIVISION

THE HANOVER INSURANCE                         )       Case No.
COMPANY,                                      )
                                              )
               Plaintiff,                     )
                                              )    COMPLAINT FOR DECLARATORY
v.                                            )            JUDGMENT
                                              )
AGRONOMY SCIENCES, LLC and                    )
JEFFREY MORRIS,                               )
                                              )
               Defendants.                    )

       Plaintiff, THE HANOVER INSURANCE COMPANY (“Hanover”) for its Complaint for

Declaratory Judgment against Defendants AGRONOMY SCIENCES, LLC and JEFFREY

MORRIS alleges as follows:

                                NATURE OF THE ACTION

       1.     This is an insurance coverage dispute. Hanover seeks a declaration that it has no

duty to defend or indemnify Agronomy Sciences, LLC d/b/a Hefty Seed (“Agronomy Sciences”)

or its employee, Jeffery Morris, under a Private Company Advantage insurance policy Hanover

issued to Agronomy Sciences (the “Policy”) in connection with a lawsuit (the “Lawsuit”)

brought against the Defendants by Titan Pro SCI, Inc. (“Titan Pro”). The Lawsuit arises out of a

dispute between Titan Pro, on the one hand, and the Defendants, on the other, regarding

Agronomy Sciences’ employment of Mr. Morris, which allegedly violated Mr. Morris’

independent dealer contract with Titan Pro that contained exclusivity, confidentiality, and non-

competition provisions.
    Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 2 of 17 PageID #: 2




        2.     The Policy only provides coverage to the Defendants for the Lawsuit if any

Insured 1 proposed for coverage under the Policy, including the Defendants, were not aware of

any fact, circumstance, or situation that might reasonably be expected to result in a Claim (i.e.,

the Lawsuit). To obtain the Policy, Agronomy Sciences represented to Hanover in its insurance

application that no Insured was aware of any fact, circumstance, or situation that might

reasonably be expected to result in a Claim. Contrary to that representation, the Defendants

admitted in the Lawsuit that they were aware of Mr. Morris’ contract with Titan Pro, and that

they did not disclose that Mr. Morris accepted employment with Agronomy Sciences out of

concern that Titan Pro would commence litigation against Mr. Morris. As a result, there is no

coverage for the Lawsuit under the Policy. Other terms and conditions of the Policy also bar or

limit coverage for the Lawsuit.

                                          THE PARTIES

        3.     Hanover is an insurance company incorporated under the laws of the State of New

Hampshire, with its principal place of business in Massachusetts.

        4.     Agronomy Sciences, LLC d/b/a Hefty Seed has admitted in federal court

pleadings that it is a citizen of South Dakota.

        5.     Jeffrey Morris has admitted in federal court pleadings that he is domiciled in

Raymond, Minnesota, Kandiyohi County, and is therefore a citizen of Minnesota.

                                  JURISDICTION AND VENUE

        6.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1332(a),

2201, and 2202, as complete diversity exists between the parties and the amount in controversy




1
        Terms in bold are defined in the Policy.


                                                   2
 Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 3 of 17 PageID #: 3




exceeds the sum or value of $75,000, exclusive of interest and costs, and Hanover seeks

declaratory relief regarding claims of actual controversy within this Court’s jurisdiction.

        7.      Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and (3), in

that a substantial part of the events or omissions giving rise to this action occurred within this

district.

                                          THE POLICY

        8.      Hanover issued the Policy, Policy No. LHX-H676209-00, to Agronomy Sciences

for the period of July 1, 2021 to July 1, 2022. A true and correct copy of the Policy is attached

as Exhibit A.

        9.      Hanover issued the Policy to Agronomy Sciences in reliance upon the New

Business Application signed by Agronomy Sciences’ CFO, Maria Walz, on May 19, 2021 on

behalf of all Insureds proposed for coverage under the Policy.

        10.     The Policy includes a Directors & Officers and Entity Liability Coverage Part

(“D&O Part”) that provides a Maximum Aggregate Limit of Liability of $1,000,000, subject to a

$15,000 each Claim Retention for Individual Indemnified Liability Coverage under Insuring

Agreement I.B and Corporate Entity Liability Coverage under Insuring Agreement I.C.

        11.     The Insuring Agreements set forth in Section I of the D&O Part of the Policy state

as follows:

        I.      INSURING AGREEMENTS

                A. Individual Non-Indemnified Liability

                   The Insurer will pay on behalf of each Insured Individual, Loss
                   which the Insured Individual is legally obligated to pay due to a
                   Claim first made against the Insured Individual during the Policy
                   Period, or the Extended Reporting Period if applicable, except for
                   Loss which the Insured Entity pays to or on behalf of the Insured
                   Individual as indemnification.



                                                 3
 Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 4 of 17 PageID #: 4




               B. Individual Indemnified Liability

                  The Insurer will pay on behalf of the Insured Entity, Loss which the
                  Insured Individual is legally obligated to pay due to a Claim first
                  made against the Insured Individual during the Policy Period, or the
                  Extended Reporting Period if applicable, but only to the extent the
                  Insured Entity indemnifies the Insured Individual for such Loss.

               C. Corporate Entity Liability

                  The Insurer will pay on behalf of an Insured Entity, Loss which the
                  Insured Entity is legally obligated to pay due to a Claim first made
                  against the Insured Entity during the Policy Period, or the Extended
                  Reporting Period if applicable.

       12.     Section III. of the D&O Part of the Policy provides the following relevant

definitions:

               Claim means:

               A. With respect to Insuring Agreements I.A. and I.B., any:

                  1. Written demand received by an Insured for monetary or non-
                     monetary relief including injunctive relief;

                  2. Civil proceeding commenced by the service of a complaint or
                     similar pleading;

                  3. Criminal proceeding commenced by the filing of charges;

                  4. Formal administrative or regulatory proceeding, including a Wells
                     Notice, commenced by the filing of charges, formal investigative
                     order or similar document;

                  5. Arbitration or mediation proceeding commenced by receipt of a
                     demand for arbitration or mediation or similar document; or

                  6. Official request for Extradition;

               against an Insured Individual for a Wrongful Act, including any appeal
               therefrom; …

               C. With respect to Insuring Agreement I.C., any:




                                               4
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 5 of 17 PageID #: 5




             1. Written demand received by an Insured for monetary or non-
                monetary relief including injunctive relief;

             2. Civil proceeding commenced by the service of a complaint or
                similar pleading;

             3. Criminal proceeding commenced by the filing of charges;

             4. Formal administrative or regulatory proceeding commenced by the
                filing of charges, formal investigative order or similar document;
                or

             5. Arbitration or mediation proceeding commenced by the receipt of
                a demand for arbitration or mediation or similar document;

          against an Insured Entity for a Wrongful Act, including any appeal
          therefrom; ….

                               *       *       *

          Insured Individual means any past, present or future Executive or
          employee (including part-time, seasonal, leased or temporary employees),
          intern or volunteer of the Insured Entity while acting solely within his or
          her capacity as such on behalf of the Insured Entity or in an Outside
          Capacity.

                               *       *       *

          Loss means Defense Expenses and the amount the Insured is legally
          obligated to pay as a result of a Claim including:

          A. Monetary judgments, awards or settlements, pre-judgment and post-
             judgment interest and compensatory damages;

          B. Punitive or exemplary damages or the multiple portion of any
             multiplied damage award if insurable under the law of the jurisdiction
             most favorable to the insurability of such damages where such
             jurisdiction has a substantial relationship to the Insured, the Insurer,
             or to the Claim giving rise to such damages; or

          C. Civil fines or penalties assessed against an Insured Individual,
             including civil penalties assessed against an Insured Individual
             pursuant to the Foreign Corrupt Practices Act (15 U.S.C. 78dd-
             2(g)(2)(B)), if and to the extent such fines or penalties are insurable
             under the law of the jurisdiction in which such fines and penalties are
             assessed.



                                           5
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 6 of 17 PageID #: 6




          However, Loss does not include:

             1. Any amounts which an Insured is obligated to pay as a result of a
                Claim seeking relief or redress for non-monetary damages
                including injunctive relief;

             2. Any amount deemed uninsurable by law;

             3. Taxes, except a tax imposed upon an Insured Individual in
                connection with the bankruptcy, receivership, conservatorship or
                liquidation of an Insured Entity but only if:

                 a. Such tax is insurable under the law pursuant to which this
                    Coverage Part is construed; and

                 b. An Insured Individual is not indemnified for such tax by an
                    Insured Entity or any other person or organization.

             4. Investigative Costs (other than costs arising from a Security
                Holder Derivative Demand) incurred by an Insured in the
                defense or investigation of any action, proceeding or demand that
                was not a Claim even if such amount also benefits the defense of a
                covered Claim or such action, proceeding or demand that
                subsequently gives rise to a Claim;

             5. Any amount which represents or is substantially equivalent to an
                increase in the consideration paid by an Insured Entity in
                connection with its purchase of any securities or assets; or

             6. Any amount not indemnified by the Insured Entity for which an
                Insured Individual is absolved from payment by reason of any
                covenant, agreement or court order.

                              *       *         *

          Wrongful Act means any actual or alleged act, error, omission,
          misstatement, misleading statement, neglect, breach of duty committed or
          attempted, or allegedly committed or attempted by:

          A. With respect to Insuring Agreements I.A. and I.B, an Insured
             Individual in his or her capacity as such or any other matter claimed
             against an Insured Individual solely in his or her status as such; or

          B. With respect to Insuring Agreement I.C., an Insured Entity.




                                            6
 Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 7 of 17 PageID #: 7




       13.    Section VI.D. of the D&O Part of the Policy states as follows:

              No Insured shall settle any Claim, voluntarily make any payment, assume
              any obligation, or incur expense related to a Claim without the Insurer’s
              consent.

                              THE UNDERLYING LAWSUIT

       14.    On November 5, 2021, Titan Pro filed the original complaint in the Lawsuit

against Jeffrey Morris, and on April 1, 2022, Titan Pro filed the operative Amended Complaint

adding Agronomy Sciences as a defendant to the Lawsuit. A true and correct copy of the

Amended Complaint is attached as Exhibit B.

       15.    On April 18, 2022, Defendants filed their Answer and Counterclaim in response

to Titan Pro’s Amended Complaint in the Lawsuit. A true and correct copy of Defendants’

Answer and Counterclaim is attached as Exhibit C.

       16.    Titan Pro alleged that Mr. Morris was an independent-contractor dealer under

contract with Titan Pro from 2015 until October 2021, and that Mr. Morris’ contract with Titan

Pro contained exclusivity as well as confidentiality and non-compete provisions. Ex. B at ¶¶4,

24-27. Defendants admitted these facts in their Answer. Ex. C at ¶¶4, 24-27.

       17.    Titan Pro alleged that Mr. Morris informed Titan Pro in December 2020 that he

was considering leaving the industry or working for one of Titan Pro’s competitors, Agronomy

Sciences. Ex. B at ¶30. Defendants admitted these facts in their Answer. Ex. C at ¶30.

       18.    Titan Pro alleged that, in the course of discussions with Mr. Morris to determine if

he would remain a Titan Pro dealer, Titan Pro reminded Mr. Morris of his non-compete and

confidentiality obligations under his contract with Titan Pro. Ex. B at ¶¶32-33. Defendants

admitted that Titan Pro referenced the confidentiality and non-compete provisions of Mr. Morris’




                                               7
 Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 8 of 17 PageID #: 8




contract in discussions regarding Mr. Morris’ potential employment with Agronomy Sciences.

Ex. C at ¶33.

       19.      Titan Pro alleged that, by early January 2021, Mr. Morris voiced his intent to

remain a Titan Pro dealer. Ex. B at ¶34.

       20.      Titan Pro alleged that Mr. Morris secretly accepted formal employment with

Agronomy Sciences on February 1, 2021, and continued to secretly work for both companies for

months without disclosing to Titan Pro that he was simultaneously employed with Agronomy

Sciences and selling competing products. Ex. B at ¶6-7, 41, 49.

       21.      Defendants admitted that Mr. Morris began his employment with Agronomy

Sciences on February 1, 2021. Ex. C at ¶41. Defendants further admitted that Mr. Morris did

not tell Titan Pro that he had accepted employment with Agronomy Sciences because, among

other things, he was concerned that Titan Pro would wrongly commence litigation against him.

Ex. C at ¶49.

       22.      Titan Pro alleged that, as of February 1, 2021, Agronomy Sciences had actual

knowledge of Mr. Morris’ contract with Titan Pro, as Mr. Morris provided a copy of the contract

to Agronomy Sciences on December 11, 2020, and Agronomy Sciences subsequently discussed

the contract with its attorneys. Ex. B at ¶44. Defendants admitted these facts in their Answer.

Ex. C at ¶44.

       23.      Titan Pro alleged that Mr. Morris informed both Brandon Howard (Agronomy

Sciences agronomist), and Brian Hefty (CEO of Agronomy Sciences) of the existence of his

contract with Titan Pro, that Mr. Morris provided Maria Walz with a copy of his contract on

December 11, 2020, and that Ms. Walz forwarded Mr. Morris’ contract to Brian Hefty on




                                               8
 Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 9 of 17 PageID #: 9




December 29, 2020. Ex. B at ¶¶115-18. Defendants admitted these facts in their Answer. Ex. C

at ¶¶115-18.

       24.     Titan Pro alleged that it discovered in July 2021 that Mr. Morris was an

agronomist for Agronomy Sciences when Titan Pro discovered that Mr. Morris was listed on

Agronomy Sciences’ website as an agronomist for its Olivia, Minnesota location. Ex. B at ¶50.

       25.     Titan Pro alleged that it terminated Mr. Morris’ contract effective October 2,

2021, and that Mr. Morris has since continued to sell products on Agronomy Sciences’ behalf.

Ex. B at ¶57. Defendants admitted these facts in their Answer. Ex. C at ¶57.

       26.     Based on these allegations, Titan Pro asserted the following causes of action: (1)

Breach of Contract – Exclusivity Clause against Mr. Morris; (2) Breach of Contract – Non-

Competition and Confidentiality Clause against Mr. Morris; (3) Breach of Implied Covenant of

Good Faith and Fair Dealing against Mr. Morris; (4) Breach of Fiduciary Duty of Loyalty against

Mr. Morris; (5) Aiding and Abetting Breach of Fiduciary Duty of Loyalty against Agronomy

Sciences; (6) Fraudulent Misrepresentation/Non-Disclosure against Mr. Morris; (7) Tortious

Interference with Contact – Dealer Contract against Agronomy Sciences; and (8) Unjust

Enrichment against Agronomy Sciences. Ex. B at ¶¶58-127.

       27.     Despite litigating the Lawsuit for over five months, Defendants first reported the

Lawsuit to Hanover for coverage under the Policy on April 13, 2022.

       28.     On May 31, 2022, Hanover issued a letter via e-mail to the Insureds’ contact,

Maria Walz, with a copy to the Insureds’ insurance agent/broker, in which Hanover declined

coverage for Mr. Morris in connection with the Lawsuit, and reserved rights under several

provisions of the Policy with respect to Agronomy Sciences.




                                               9
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 10 of 17 PageID #: 10




       29.     On January 18, 2023, Hanover learned that the Defendants had agreed to

participate in a principal-to-principal settlement conference on January 20, 2023, without their

respective attorneys, in an attempt to resolve the Lawsuit.

       30.     On January 18 and January 19, 2023, Hanover reminded Agronomy Sciences of

Section V.D. of the D&O Part regarding consent to settle, and reserved rights under Section V.D.

to disclaim coverage for any settlement reached without Hanover’s involvement or consent.

Without waiving any rights, Hanover made itself available by phone and email to participate in

the settlement conference on January 20, 2023, but was not permitted to participate.

       31.     On January 20, 2023, Defendants agreed with Titan Pro to settle the Lawsuit in

exchange for a payment from Agronomy Sciences to Titan Pro, without Hanover’s knowledge or

consent.

       32.     On January 24, 2023, Hanover contacted Agronomy Sciences and inquired about

the settlement conference, and was informed that Defendants and Titan Pro settled the Lawsuit.

       33.     On February 2, 2023, Defendants and Titan Pro signed a settlement agreement

resolving the Lawsuit. A portion of the settlement payment paid to Titan Pro on behalf of

Defendants was paid to buy out Mr. Morris’ contract with Titan Pro in order to release Mr.

Morris from all contractual obligations to Titan Pro under the contract.

       34.     On February 14, 2023, counsel for Defendants issued a letter to Hanover,

demanding that Hanover provide coverage for the settlement payment and all defense costs

incurred by Agronomy Sciences on behalf of Defendants in connection with the Lawsuit.

       35.     On March 3, 2023, Hanover issued a supplemental coverage position letter,

explaining that there is no coverage for the Lawsuit under the Policy.




                                                10
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 11 of 17 PageID #: 11




                                THE COVERAGE DISPUTE

        36.    Defendants seek coverage from Hanover under the Policy in connection with the

Lawsuit.

        37.    Hanover denies that there is coverage for the Lawsuit under the Policy.

        38.    An actual, present, and bona fide controversy exists between Hanover and

Defendants with respect to whether there is defense and indemnity coverage for the Lawsuit

under the Policy.

        39.    A judicial declaration is necessary to establish the parties’ rights and duties, if

any, under the Policy.

                          COUNT I – DECLARATORY JUDGMENT
                               (Prior Knowledge Exclusion)

        40.    Hanover repeats and incorporates by reference herein the allegations in

Paragraphs 1 through 39 of this Complaint.

        41.    Section XI of the New Business Application states:

               Is any Insured proposed for coverage aware of any fact, circumstance, or
               situation that might reasonably be expected to result in a Claim that would
               fall within the scope of the proposed Liability Coverage Parts?

        42.    The response provided in the New Business Application on behalf of the

Insureds, which was signed by Maria Walz, CFO of Agronomy Sciences, on May 19, 2021 was

“No.”

        43.    Section XI of the New Business Application further states:

               IMPORTANT: Without prejudice to any other rights or remedies of the
               Insurer, the Applicant understands and agrees that if any such fact,
               circumstance or situation exists, whether or not disclosed in response to
               the question above, any claim or action arising from such fact,
               circumstance or situation is excluded from coverage under the proposed
               policy, if issued by the Insurer.




                                               11
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 12 of 17 PageID #: 12




       44.     Mr. Morris and Agronomy Sciences are Insureds under the Policy.

       45.     Defendants admitted that Titan Pro raised the confidentiality and non-compete

provisions of Mr. Morris’ contract when he informed Titan Pro in December 2020 that he was

considering potential employment with Agronomy Sciences.

       46.     Defendants admitted that Agronomy Sciences, including its CEO and CFO, had

received a copy of Mr. Morris’ contract with Titan Pro, and had discussed the contract with its

attorneys before Mr. Morris began employment with Agronomy Sciences.

       47.     Defendants admitted that Mr. Morris did not tell Titan Pro that he had accepted

employment with Agronomy Sciences because, among other things, he was concerned that Titan

Pro would commence litigation against him.

       48.     Defendants were therefore aware of facts, circumstances, or a situation that might

reasonably be expected to result in a Claim, such as the Lawsuit, such that coverage for the

Lawsuit is barred pursuant to the prior knowledge exclusion in Section XI of the New Business

Application, which is incorporated into the Policy.

                        COUNT II – DECLARATORY JUDGMENT
                                   (Insured Capacity)

       49.     Hanover repeats and incorporates by reference herein the allegations in

Paragraphs 1 through 48 of this Complaint.

       50.     There is no coverage for Mr. Morris because he was not acting solely in his

capacity as an employee of Agronomy Sciences, as required for coverage under the Policy.

       51.     Subject to its terms and conditions, the Policy provides that Hanover will pay on

behalf of each Insured Individual, Loss which the Insured Individual is legally obligated to

pay due to a Claim.




                                               12
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 13 of 17 PageID #: 13




       52.     The definition of Claim includes a “civil proceeding commenced by the service

of a complaint or similar pleading … against an Insured Individual for a Wrongful Act,

including any appeal therefrom.”

       53.     The definition of Insured Individual is limited to “any past, present or future

Executive or employee (including part-time, seasonal, leased or temporary employees), intern or

volunteer of the Insured Entity while acting solely within his or her capacity as such on behalf

of the Insured Entity or in an Outside Capacity.”

       54.     The definition of Wrongful Act is limited to “any actual or alleged act, error,

omission, misstatement, misleading statement, neglect, breach of duty committed or attempted,

or allegedly committed or attempted by … an Insured Individual in his or her capacity as such

or any other matter claimed against an Insured Individual solely in his or her status as such.”

       55.     Titan Pro did not allege in the Lawsuit that Mr. Morris was acting solely in his

capacity as an employee of Agronomy Sciences. As a result, with respect to Mr. Morris, the

Lawsuit is not a Claim against an Insured Individual for a Wrongful Act, as required to fall

within the scope of coverage of the Policy.

                        COUNT III – DECLARATORY JUDGMENT
                                    (Lack of Consent)

       56.     Hanover repeats and incorporates by reference herein the allegations in

Paragraphs 1 through 55 of this Complaint.

       57.     There is no coverage under the Policy for the settlement of the Lawsuit because

Agronomy Sciences settled the Lawsuit without Hanover’s consent.

       58.     Section VI.D. of the D&O Part of the Policy states as follows:

               No Insured shall settle any Claim, voluntarily make any payment, assume
               any obligation, or incur expense related to a Claim without the Insurer’s
               consent.



                                               13
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 14 of 17 PageID #: 14




       59.     Hanover reserved its rights under Section VI.D. of the D&O Part of the Policy.

Hanover made itself available to participate in the settlement conference between Agronomy

Sciences and Titan Pro on January 20, 2023 but was purposely left out of the settlement

conference by Agronomy Sciences. Agronomy Sciences settled the Lawsuit without Hanover’s

knowledge or consent.

       60.     Agronomy Sciences therefore breached the Section VI.D. of the Policy, such that

there is no coverage for the settlement under the Policy.

                        COUNT IV – DECLARATORY JUDGMENT
                                  (Definition of Loss)

       61.     Hanover repeats and incorporates by reference herein the allegations in

Paragraphs 1 through 61 of this Complaint.

       62.     The definition of Loss is limited to the “amount the Insured is legally obligated

to pay as a result of a Claim” and does not include “any amounts which an Insured is obligated

to pay as a result of a Claim seeking relief or redress for non-monetary damages including

injunctive relief” or “any amount deemed uninsurable by law.”

       63.     The amount paid to settle the Lawsuit, or some portion thereof, does not

constitute Loss as defined in the Policy. Therefore, there is no coverage for such settlement

amounts under the Policy.

                        COUNT IV – DECLARATORY JUDGMENT
                                     (Allocation)

       64.     Hanover repeats and incorporates by reference herein the allegations in

Paragraphs 1 through 60 of this Complaint.




                                                14
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 15 of 17 PageID #: 15




       65.     To the extent there is partial coverage for the Lawsuit under the Policy, Hanover

is entitled to an allocation pursuant to Section X of the Policy’s D&O Part, which provides, in

relevant part, as follows:

               X.      ALLOCATION

                       If an Insured incurs Loss on account of any Claim and such Claim
                       includes both covered and non-covered matters, coverage with
                       respect to such Claim shall apply as follows:

                                         *       *       *

                       B.     The Insurer shall fairly allocate all remaining loss that an
                              Insured incurred on account of such Claim between
                              covered Loss and uncovered loss based upon the relative
                              legal exposure of the parties to such matters.

       66.     To the extent there is coverage under the Policy for one of the Defendants, but not

the other, or a portion of the settlement of the Lawsuit, Hanover is entitled to an allocation based

upon the relative legal exposure of the parties pursuant to Section X of the Policy’s D&O Part.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff The Hanover Insurance Company requests that this Court enter

a judgment in its favor and against Defendants, awarding the following relief:

   a. A declaration that The Hanover Insurance Company owes no coverage to the Defendants

       in connection with the Lawsuit;

   b. In the alternative, a declaration that The Hanover Insurance Company is entitled to an

       allocation based upon the relative legal exposure of the parties for covered and non-

       covered matters in the Lawsuit; and

   c. For such other and further relief at law or in equity that the Court deems just and proper.




                                                15
Case 4:23-cv-04057-KES Document 1 Filed 04/19/23 Page 16 of 17 PageID #: 16




                                RESERVATION OF RIGHTS

       The Policy contains terms, conditions, and exclusions that may be relevant to the Lawsuit

but that are not currently implicated by this declaratory judgment action.        Nothing in this

complaint should be construed as a waiver by Hanover of any coverage defenses under the

Policy. Hanover continues to reserve the right to raise all other terms, conditions, and exclusions

as defenses to coverage for any claim made under the Policy where appropriate.

       Dated: April 19, 2023.
                                          GUNDERSON, PALMER, NELSON
                                            & ASHMORE, LLP

                                          By: /s/ Rebecca L. Mann
                                              Rebecca L. Mann
                                              Attorneys for Plaintiff
                                              P.O. Box 8045
                                              Rapid City, SD 57709
                                              Telephone: (605) 342-1078
                                              Fax: (605) 342-9503
                                              E-mail: rmann@gpna.com




                                                16
JS 44 (Rev. 04/21)                          CIVIL COVER
                     Case 4:23-cv-04057-KES Document 1 FiledSHEET
                                                             04/19/23 Page 17 of 17 PageID #: 17
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                             DEFENDANTS
          The Hanover Insurance Company                                                                        Agronomy Sciences, LLC and Jeffrey Morris

    (b)   County of Residence of First Listed Plaintiff               Hillsborough                            County of Residence of First Listed Defendant              Minnehaha
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
      Rebecca L. Mann
      Gunderson, Palmer, Nelson & Ashmore, LLP
      506 OF
II. BASIS 6thJURISDICTION
              Street        (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
      Rapid City, SD 57701                                                                                 (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                     3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                      Citizen of This State            1        ✖ 1      Incorporated or Principal Place         4     4
                                                                                                                                                          of Business In This State

    2   U.S. Government                ✖    4   Diversity                                            Citizen of Another State          ✖ 2          2   Incorporated and Principal Place           5         5
          Defendant                               (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                     Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                        Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                   TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
✖   110 Insurance                          PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                             310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                         315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                   Liability                  367 Health Care/                                                    INTELLECTUAL                    400 State Reapportionment
    150 Recovery of Overpayment            320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment               Slander                        Personal Injury                                               820 Copyrights                    430 Banks and Banking
    151 Medicare Act                       330 Federal Employers’              Product Liability                                             830 Patent                        450 Commerce
    152 Recovery of Defaulted                   Liability                  368 Asbestos Personal                                             835 Patent - Abbreviated          460 Deportation
         Student Loans                     340 Marine                          Injury Product                                                    New Drug Application          470 Racketeer Influenced and
         (Excludes Veterans)               345 Marine Product                  Liability                                                     840 Trademark                         Corrupt Organizations
    153 Recovery of Overpayment                 Liability                 PERSONAL PROPERTY                      LABOR                       880 Defend Trade Secrets          480 Consumer Credit
        of Veteran’s Benefits              350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
    160 Stockholders’ Suits                355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
    190 Other Contract                         Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability         360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                              Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                           362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                               Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                  440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                        441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment             442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                      443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
    245 Tort Product Liability                 Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property            445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                               Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                           446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                               Other                       550 Civil Rights                 Actions                                                                State Statutes
                                           448 Education                   555 Prison Condition
                                                                           560 Civil Detainee -
                                                                               Conditions of
                                                                               Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                        3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                 (specify)                 Transfer                          Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. §§ 1332(a), 2201, and 2202
VI. CAUSE OF ACTION                         Brief description of cause:
                                            Declaratory Judgment - Insurance Coverage
VII. REQUESTED IN                                CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                                (See instructions):
      IF ANY                                                             JUDGE                                                               DOCKET NUMBER
DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
4/19/2023                                                                  s/ Rebecca L. Mann
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                       APPLYING IFP                                    JUDGE                           MAG. JUDGE
